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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

IN RE:
Case No.
1917 HEIGHTS HOSPITAL, LLC,
Chapter 11

COR CGR UR UD Gn

Debtor.
CORPORATE OWNERSHIP STATEMENT

Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
the undersigned authorized officer of 1917 Heights Hospital, LLC (the “Debtor”), a Texas
limited liability company, certifies that (i) 1917 Ashland Equities, LLC, (ii) AMD Asset
Holdings, LLC, and (iii) Med Center Developers, LP are the sole members of the Debtor and
each own more than a ten percent (10%) equity interest in the Debtor.
Dated: May 31, 2021.

1917 HEIGHTS HOSPITAL, LLC

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[5r. Dharmesh Patel, Manager

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Case 21-31811 Document 3 Filed in TXSB on 06/01/21 Page 2 of 2

UNITED STATES BANKRUPTCY COURT
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HOUSTON DIVISION

IN RE:
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Debtor.

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BRIEF LIST OF ASSETS

 

Asset Estimated Value

 

Real Property Located at 1917 Ashland Street, $55,000,000.00
Houston, Texas 77008

 

Personal Property $75,000.00

 

Intangible Property $160.000.000.00

 

 

 

 

TOTAL $215,075,000.00

 

Dated: May 31, 2021.

1917 HEIGHTS HOSPITAL, LLC

(7 a

Dr. Dharmesh Patel, Manager

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